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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Elisabeth Epps, et al.,
     v.                                              Civ. No. 1:20-cv-1878-RBJ (consol.)
  City and County of Denver, et al.


    OPPOSITION TO DEFENDANT CHRISTIAN’S MOTION FOR JUDGMENT AS A
               MATTER OF LAW, NEW TRIAL, OR REMITTITUR


          Officer Christian’s post-trial motion repeats his attorneys’ failed closing argument and asks

 this Court to accept a version of facts that the jury unequivocally rejected. The motion ignores

 inculpatory evidence and overlooks instructions issued at defense counsel’s behest to address the

 same arguments raised in his post-trial brief. Most troubling, the motion reveals that Officer

 Christian steadfastly refuses to take responsibility for his actions. As the Court aptly observed at

 the close of evidence: “I can’t think of a case that I’ve had or that I’m even aware of in this court

 that more deserves the pulse of the people, the pulse of the community as reflected in the eight

 jurors that have heard the case.” Dkt. 355 at 2142. Having been held to account for his actions by

 a jury of his peers, Officer Christian’s motion seeks to erase the people’s verdict. The motion

 should be denied.

                                            ARGUMENT

          “Judgment as a matter of law under Rule 50 is appropriate only if the evidence points but

 one way and is susceptible to no reasonable inferences which may support the nonmoving party’s

 position. This Court does not make credibility determinations or weigh the evidence, and the

 evidence must be viewed in the light most favorable to the nonmoving party.” Tudor v. Se. Okla.
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 State Univ., 13 F.4th 1019, 1031 (10th Cir. 2021) (internal quotation marks and citations omitted).

 “In deciding a new trial motion based on insufficiency of the evidence” under Rule 59(a), “a

 district court must analyze whether the verdict is clearly, decidedly or overwhelmingly against the

 weight of the evidence.” Elm Ridge Expl. Co., LLC v. Engle, 721 F.3d 1199, 1216 (10th Cir. 2013)

 (internal quotation marks and citation omitted). Officer Christian’s motion fails to clear these high

 hurdles to overturn the jury’s verdict.

 I.     The Evidence Overwhelmingly Supports the Jury’s Liability Verdict

        Officer Christian is not entitled to judgment as a matter of law on Ms. Epps’ Fourth

 Amendment claim. The testimonial and video evidence shows that Officer Christian took a knee,

 raised his weapon, aimed, and shot Ms. Epps with a PepperBall, even though Ms. Epps posed no

 threat to herself or others. Dkt. 352 at 1851–52. Officer Christian’s BWC shows another officer

 immediately approach after he shoots Ms. Epps, telling him, “[S]arge said don’t hit her.” Dkt. 351

 at 1482. This evidence, especially when taken in the light most favorable to Ms. Epps and drawing

 all reasonable inferences in her favor (as Rule 50 requires), sufficiently supports the jury’s verdict

 with respect to her Fourth Amendment claim.

        Officer Christian does not dispute that the jury was properly instructed on the legal standard

 to consider the totality of the circumstances. Dkt. 340 at 15–16 (Instruction No. 12). Nor does he

 dispute (or even mention) the relevant factors: that Ms. Epps posed no immediate threat; that there

 was no need to use any force, let alone to shoot her with a chemical projectile; and that her only

 alleged offense—jaywalking—was wholly disproportionate to Officer Christian’s use of force.

 Instead, he repeats his own testimony that he was simply “encourag[ing] Ms. Epps to leave the

 middle of 14th Avenue” to avoid “obstructing traffic.” Mot. 4. (The fact that he shoots her after

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 she crossed several street lanes, which would have the effect of backing her into traffic, belies his

 purported motive.) The jury did not believe Officer Christian’s account or explanation, and his

 purported subjective intent—to protect Ms. Epps from “danger to herself and the public,” id.—is

 irrelevant under the objective standard used to assess reasonable force, Dkt. 340 at 15–16; Fisher

 v. City of Las Cruces, 584 F.3d 888, 894 (10th Cir. 2009) (“The touchstone of the reasonableness

 inquiry in an excessive force claim . . . is whether the officers’ actions are objectively

 unreasonable.”). The liability verdict must stand.

        As the Court correctly ruled at summary judgment, clearly established law holds that an

 officer may not deploy less-lethal munitions on peaceful protestors under analogous

 circumstances. See Dkt. 304 at 15–16 (citing Buck v. City of Albuquerque, 549 F.3d 1269 (10th

 Cir. 2008) and Fogarty v. Gallegos, 523 F.3d 1147 (10th Cir. 2008)). Officer Christian

 nevertheless argues that “the constitutional right at issue” is not “defined at an appropriate level of

 specificity,” Mot. 4, without saying what the appropriate level should be. That underdeveloped

 argument is meritless. Those Tenth Circuit decisions involved Fourth Amendment claims for the

 use of force, including the use of PepperBalls, on peaceful protestors. It is hard to imagine more

 “specific or particularized” precedent. Officer Christian opted not to take an interlocutory appeal

 and offers no reason to revisit the Court’s summary judgment ruling.

 II.    Officer Christian Was Not Prejudiced by Standing Trial with His Co-Defendant

        Officer Christian contends that this Court’s decision not to bifurcate him from the trial

 against Denver was “profoundly prejudicial.” Mot. 6. In support, he notes that much of the

 evidence at trial concerned other officers and other incidents. The implication of Officer

 Christian’s argument is that the jury might have conflated Officer Christian’s wrongdoing with

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 those of other officers. The verdict proves otherwise: The jury found for Ms. Epps on both her

 claims against the City of Denver—for violations of her First and Fourth Amendment rights—

 while simultaneously finding in Officer Christian’s favor on the First Amendment claim and

 holding him liable under the Fourth Amendment. Dkt. 343 at 7–8. This careful parsing of the

 evidence demonstrates the care, attention, and particularity with which the jurors conducted their

 deliberations. Officer Christian was not “lumped in” with other officers or held accountable for

 their acts. See also Dkt. 340 at 6 (Instruction No. 4) (“You should decide the case as to each party

 separately. Each plaintiff may only recover for any violation of his or her own constitutional rights.

 No one may recover for a violation of someone else’s constitutional rights.”). If anything, Officer

 Christian’s lawyers sought to bolster his case by contrasting his isolated assault of Ms. Epps with

 other egregious acts committed by officers during the protest. The jury’s careful and split verdict

 belies Officer Christian’s speculation of prejudice.

        Officer Christian next argues that he was prejudiced by the introduction of evidence of

 DPD’s policies and training. Evidence of DPD’s policies and training standards was relevant and

 admissible to establish Plaintiffs’ claims against the City of Denver under Monell v. Dep’t of Soc.

 Serv. of City of New York, 436 U.S. 658 (1978). That proposition is beyond debate. However,

 Officer Christian argues that the same evidence required to prove Plaintiffs’ municipal liability

 claim was irreconcilably prejudicial to his defense. That position misunderstands the relevant case

 law, misrepresents Plaintiffs’ arguments and evidence, and ignores the fact that the Court

 specifically instructed the jury on this issue—at the request of Officer Christian’s counsel.

        To be clear, Plaintiffs did not argue or attempt to argue that evidence of a violation of DPD

 policies is relevant to establishing a constitutional violation. In fact, Plaintiffs’ presentation

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 centered on the opposite proposition: that the unreasonable and excessive uses of force by

 individual officers, including Officer Christian, were within DPD policy. See, e.g., Dkt. 351 at

 1532 (“Q: And in your view, everything that you saw during the George Floyd protest done by

 you and the other officers that you witnessed was consistent with training and DPD custom; right?

 [Officer Christian]: Yes, sir.”). This critical distinction (which defendants repeatedly ignore)

 renders moot Officer Christian’s objection to the introduction of policy-or-custom evidence.

        Contrary to Officer Christian’s argument, the law does not preclude all discussion of police

 policies or training in a Fourth Amendment suit. Mot. 7. The evidentiary issue is much narrower.

 In Whren v. United States, 517 U.S. 806 (1996), the Supreme Court held that police policies cannot

 be used as a standard for evaluating the constitutionality of police officer’s actions. 517 U.S. at

 815–16. The Tenth Circuit extended Whren to § 1983 lawsuits in Tanberg v. Sholtis, 401 F.3d

 1151, 1167 (10th Cir. 2005). In Tanberg, the Tenth Circuit held that it was not an abuse of

 discretion to exclude evidence of a police department’s standard operating procedures. Id.1 The

 court said that “an arrest [that] violated police department procedures does not make it more or

 less likely that the arrest implicates the Fourth Amendment, and evidence of the violation is

 therefore irrelevant.” Id. at 1163–64. Tanberg is thus inapplicable here because Plaintiffs did not

 introduce any policy violation by Officer Christian for any purpose, much less as evidence to

 establish the standard for a constitutional violation.2


 1
  Notably, the Tenth Circuit did not hold or imply that a district court would abuse its discretion
 by admitting such evidence, either.
 2
  Officer Christian argues that Plaintiffs introduced evidence of “how individual officers violated
 [DPD] policies, and whether any discipline occurred relating to any policy violations.” Mot. 7.
 The motion includes no cites for that assertion. That’s because Plaintiffs sought to show that

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        Furthermore, Officer Christian sought and received a jury instruction on this exact point.

 Instruction 10 stated: “As you consider those instructions, you must bear in mind that in order for

 the plaintiffs to prove a constitutional violation, it is not enough to show that an officer violated a

 policy, regulation, rule, training, or practice. Instead, plaintiffs must establish a violation of their

 constitutional rights, as I will define them in these instructions.” Dkt. 340 at 12. That is the legal

 principle that Tanberg articulated, and any conceivable prejudice to Officer Christian was

 eliminated by inclusion of Officer Christian’s proffered instruction.

        Remarkably, Officer Christian also claims he was unfairly prejudiced by evidence of his

 assaults on other protestors, separate from his shooting of Ms. Epps. Mot. 8–9. As explained below,

 such evidence was directly relevant to establishing Officer Christian’s “reckless or callous

 indifference to the federally protected rights of others.” Dkt. 340 at 26 (Instruction No. 20). That

 element of punitive damages required the jury to assess Officer Christian’s “subjective state of

 mind,” id., and his actions contemporaneous to his assault on Ms. Epps are relevant to evaluate his

 motives, actions, and the credibility of his testimony. Introduction of such evidence was necessary

 and proper.

 III.   The Jury’s Punitive Damages Award Was Appropriate

        Officer Christian’s Rule 50(b) argument on punitive damages (Mot. 5–6) impermissibly

 relies on facts and inferences drawn in his favor. He argues, for example, that he perhaps “did not

 hit” Ms. Epps with a PepperBall and that “the facts presented at trial do not demonstrate Mr.




 officers were acting pursuant to DPD policy, not in violation of it. The failure to discipline was
 evidence that DPD concluded that its officers’ actions were consistent with policy, practice, and
 training.
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 Christian acted recklessly or with callous indifference to Ms. Epps’ rights.” Mot. 5. In support of

 this false premise, Officer Christian cites his own testimony about his own motives. Id. at 6.

 Unfortunately for him, the jury credited the video and other evidence in assessing the totality of

 the circumstances—including Officer Christian’s behavior in proximity to his assault of Ms.

 Epps—and concluded that his actions warranted punitive damages. For example, Officer Christian

 admitted to throwing multiple grenades at protestors; to shooting a woman holding a sign who was

 injured and posed no threat; to indiscriminately spraying “30 or 40 people . . . standing with their

 hands up” while riding in a moving vehicle, Dkt. 351 at 1495; failing to provide any medical aid

 to protestors; and Officer Christian was caught on camera agreeing with a fellow officer’s

 statement that “I like shooting people,” with an emphatic “Fuck, yeah,” id. at 1488–89. The jury’s

 assessment of Officer Christian’s “subjective state of mind” (Dkt. 340 at 26) involves a nuanced

 consideration of all the evidence, including Officer Christian’s demeanor and candor on the stand,

 as “there is no way of directly scrutinizing the workings of the human mind” (id. at 13). Self-

 serving denials are insufficient to enter judgment notwithstanding the verdict under Rule 50(b).

 See Hutchinson v. Grace, No. 19 CIV. 270 (AKH), 2022 WL 1154347, at *3–4 & n.1 (S.D.N.Y.

 Apr. 19, 2022) (denying motion for new trial and noting that movant “selectively offer[ed] self-

 serving recollections and his characterization of testimony”).

        As to the amount of damages, Officer Christian claims that the jury’s $250,000 punitive

 damages award against him violates due process and accordingly must be reduced to “zero, $1,”

 or perhaps “$10,000.” Mot. 14. A jury’s punitive damages award violates due process only if it is

 “grossly excessive or arbitrary.” Burke v. Regaldo, 935 F.3d 960, 1037 (10th Cir. 2019). Officer

 Christian has shown nothing approaching that standard.

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         Critically, the core premise of Officer Christian’s argument—that “the compensatory

 damages against him are zero” (Mot. 11)—is plainly incorrect. The verdict form is clear: The jury

 found both Denver and Officer Christian liable for violating Ms. Epps’ constitutional rights. Dkt.

 343 at 7–8. Then, asked “[w]hat amount of compensatory damages do you award to Elisabeth

 Epps?,” the jury responded with $1 million. Id. at 8. The jury’s compensatory damages award was

 unitary: it did not apportion damages between Denver and Officer Christian. The jury was not

 asked to perform such an apportionment, and Defendants did not object to this lack of

 apportionment. So too for this Court’s judgment: It stated that judgment was entered in favor of

 “Elisabeth Epps against defendant City and County of Denver” and “against defendant Jonathan

 Christian”; and “compensatory damages were awarded by the jury in the amount of . . . $1,000,000

 as to plaintiff Elisabeth Epps,” without differentiation between Denver and Officer Christian. Dkt.

 360 at 3. Officer Christian’s notion that “the jury did not award any compensatory damages

 against” him and instead that this award only was “against Denver” (Mot. 10) is a feeble attempt

 at revisionist history.3

         Officer Christian provides no evidentiary basis to infer, contrary to the verdict form, that

 the jury’s compensatory damages award ran only against Denver. Instead, Officer Christian

 misleadingly alludes to a purported removal of “a separate question for compensatory damages for



 3
   The same implication can be drawn by contrast to the question on punitive damages, which asked
 the jury, “What amount of punitive damages do you award to Elisabeth Epps against Officer
 Christian?” Dkt. 343 at 8 (emphasis added). The specific mention of Officer Christian in this
 question stands in contrast to the lack of differentiation among defendants in the preceding
 question on compensatory damages and was required because punitive damages are unavailable
 against municipalities. City of Newport v. Fact Concerts, Inc., 453 U.S. 247, 271 (1981) (“[W]e
 hold that a municipality is immune from punitive damages under 42 U.S.C. § 1983.”).
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 Ms. Epps against Mr. Christian.” Mot. 11. But that did not occur. Rather, an earlier discussion

 draft of the verdict form (which has no legal effect) included a drafting error in which the same

 question appeared twice: “What amount of compensatory damages do you award to Elisabeth

 Epps?” The duplicate question did not refer specifically to Officer Christian, contrary to the

 characterization in Officer Christian’s motion. In fact, the eliminated question was originally

 located after the question of Denver’s liability, not Officer Christian’s. Regardless, the parties

 agreed, jointly, that the verdict form should include only one award of compensatory damages that

 did not differentiate between the liable defendants.4

        There likewise is no legal basis to conclude that the jury’s unitary compensatory damage

 award was limited to Denver, as opposed to Officer Christian—both of whom the jury found liable.

 Indeed, it would have been improper for the verdict form to include separate lines for the two

 defendants. That is because under settled principles of damages liability, both defendants were

 jointly and severally liable for Ms. Epps’ injuries. See Jensen v. W. Jordan City, 968 F.3d 1187,

 1197–98 (10th Cir. 2020); Northington v. Marin, 102 F.3d 1564, 1568–69 (10th Cir. 1996). In

 particular, under Section 1983, “[m]ultiple tortfeasors who concurrently cause an indivisible injury

 are jointly and severally liable; each can be held liable for the entire injury.” Northington, 102 F.3d

 at 1569. Joint and several liability is the default rule “even if the concurrent [wrongs] of others

 contributed to the incident” that injured the plaintiff. Weeks v. Chaboudy, 984 F.2d 185, 188 (6th



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   It is disingenuous for counsel to assert that any aspect of the draft form was “eliminated by
 counsel for the Plaintiffs.” Mot. 11. While Plaintiffs’ counsel took responsibility to revise the
 verdict form at the Court’s request, and while it was Plaintiffs’ counsel that identified the duplicate
 question during drafting and negotiation, the parties conferred and agreed to modify the form
 before presenting it to the Court without objection.
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 Cir. 1993) (quoting Edmonds v. Compagnie Generale Translantique, 443 U.S. 256, 260 (1979)).

 And in cases where multiple defendants are jointly and severally responsible for injuries, “a single

 line for … compensatory damages” is the norm. Osterhout v. Bd. of Cnty Comm’rs, 10 F.4th 978,

 994 (10th Cir. 2021) (“Given the existence of two claims, Mr. Morgan and the Board theorize that

 the verdict needed two lines for compensatory damages: one for Mr. Morgan and another for the

 Board. We disagree. … [T]he district court appropriately used only a single line for compensatory

 damages.”).

        It is far too late for Defendants to advocate for apportionment after the jury has spoken.

 The Tenth Circuit has explained that if a defendant believes that an injury “is capable of

 apportionment among” multiple defendants, “the burden of proof as to the apportionment is upon

 each such actor.” Northington, 102 F.3d at 1569 (emphasis added). Here, Defendants did not even

 attempt to meet that burden; they never claimed that Ms. Epps’ injuries could be apportioned

 between Denver and Officer Christian. And any such argument would have failed, given the

 evidence showing that Denver’s policy and Officer Christian’s actions both contributed to Officer

 Christian’s violation of Ms. Epps’ constitutional rights. Because the jury entered an unapportioned

 compensatory damages award of $1 million, the default rule of joint and several liability applies,

 and the award runs against both defendants.

        With that, Officer Christian’s due process argument evaporates. “To determine whether

 punitive damages are excessive,” courts “consider three factors: (1) ‘the degree of reprehensibility

 of defendant’s misconduct,’ (2) ‘the disparity between the actual or potential harm suffered . . . and

 [the] punitive damages award,’ and (3) the difference between the punitive damages and ‘the civil

 penalties authorized or imposed in comparable cases.’” Osterhout, 10 F.4th at 1001 (quoting BMW

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 of N. Am., Inc. v. Gore, 517 U.S. 559 (1996)). The first factor (“reprehensibility”) “is the ‘most

 important’”—and yet Officer Christian completely ignores it. Id. (quoting Burke, 935 F.3d at

 1039). Officer Christian shot Ms. Epps without any warning or justification while she was

 documenting the protests and isolated on a public street, which the jury found to be constitutionally

 excessive force. Rather than “serve and protect,” Officer Christian “knelt and fired.” The jury

 heard evidence that Officer Christian shot at other protesters in similar fashion, and the jury

 reasonably could conclude that this was his modus operandi, reflecting a callous disregard of the

 constitutionally protected rights of others. These are the very circumstances—“physical harm”

 caused by “indifference or reckless disregard” and “excessive force”—that the Tenth Circuit has

 recognized “support[] heavy punitive damages.” Id. at 1002, 1003 (upholding $1 million punitive

 award); Burke, 935 F.3d at 1039.

        Because the $250,000 punitive damages award was only a fraction of the $1,000,000

 compensatory award, the second factor weighs decisively in favor of upholding the jury’s verdict.

 Officer Christian acknowledges, for example, that the Supreme Court has sustained punitive

 damages award “four times the compensatory damages and two-hundred times out of pocket

 expenses.” Mot. 10 (describing Pacific Mut. Life Ins. Co. v. Haslip, 499 U.S. 1, 23 (1991)); see

 also Osterhout, 10 F.4th at 1002 (“Here the compensatory damages are substantial. But the

 punitive damages are far less than the amount awarded in compensatory damages . . . .”). Indeed,

 even assuming—contrary to the jury’s unitary damages award—that Officer Christian was

 responsible only for half or even a quarter of the $1 million compensatory damage award, the

 punitive award here still would be well within the guideposts of Supreme Court precedent.



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        As to the third factor, while Officer Christian cites a handful of (mostly out-of-circuit)

 cases for the proposition that $250,000 is unjustified “in comparison to punitive damages awards

 in other similar cases,” his survey is woefully incomplete. Mot. 11–12. For example, the Tenth

 Circuit last year upheld a $1 million punitive damages award in an excessive force claim under

 Section 1983 where the officer, who claimed that the plaintiff was trying to flee from a traffic stop,

 struck the plaintiff in the face and ribs. Osterhout, 10 F.4th at 1003. In rejecting the defendants’

 due process arguments, the Court cited other cases where “juries have awarded punitive damages

 of $1 million or more for excessive force even when the compensatory damages had been much

 less.” Id. In another recent case, the Tenth Circuit upheld a $250,000 award against a defendant

 officer even though he was “not directly involved in subordinates’ violations of an inmate’s

 constitutional rights” but instead was found liable only as a supervisor. Burke, 935 F.3d at 1037.

 At the very least, these decisions provided Officer Christian with “reasonable notice” that shooting

 a peaceful protestor without warning “could result in [a $250,000] punitive award”—and that is

 all that is required. Osterhout, 10 F.4th at 1003.

        Lastly, while Officer Christian posits that “a defendant’s wealth” is relevant to the

 constitutionality of a punitive damages award (Mot. 12–13), he never introduced, or attempted to

 introduce, any evidence of his financial status. Nor did he seek to instruct the jury on consideration

 of his financial status in assessing an appropriate award. Officer Christian cannot now reduce the




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 jury’s punitive damages award based on ipse dixit statements regarding his purported ability to

 pay.5 The jury’s award here was well within constitutional limits and should be upheld.

 Dated: June 17, 2022                         Respectfully submitted,

                                               By: /s/ Timothy Macdonald
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 17, 2022, I served via CM/ECF the foregoing OPPOSITION

 TO DEFENDANT CHRISTIAN’S MOTION FOR JUDGMENT AS A MATTER OF LAW,

 NEW TRIAL, OR REMITTITUR on all counsel of record.



                                              /s/ Timothy R. Macdonald




 5
   Officer Christian’s motion later contradicts this point by arguing: “The issue of the fairness of
 the jury’s punitive damages award here is unrelated to who might ultimately pay any final award.”
 Mot. 13.
                                                  13
